Case 3:11-cv-04878-JW Document 14 Filed 01/17/12 Page 1 of 2




                                                        ISTRIC
                                                   TES D      TC
                                                 TA




                                                                            O
                                            S




                                                                             U
                                           ED




                                                                              RT
                                                                     ERED
                                                        O ORD




                                       UNIT
                                                IT IS S




                                                                                R NIA
                                                                  es Ware




                                       NO
                                                                 m
                                                         Judge Ja




                                                                                FO
                                        RT




                                                                             LI
                                                ER




                                           H




                                                                            A
                                                     N                      C
                                                                       F
                                                         D IS T IC T O
                                                               R
Case 3:11-cv-04878-JW Document 14 Filed 01/17/12 Page 2 of 2




     Jan. 17, 2012
